                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TENNESSEE
                                  GREENEVILLE DIVISION


 ULTIMA SERVICES CORPORATION,                      )
                                                   )
                  Plaintiff,                       )
                                                   )
 v.                                                )   No. 2:20-cv-00041-DCLC-CRW
                                                   )
 U.S. DEPARTMENT OF AGRICULTURE,                   )
 et al.,                                           )
                                                   )
                  Defendants.                      )

         DEFENDANTS’ STATEMENT OF UNDISPUTED MATERIAL FACTS
       IN SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

       1.        Prior to January 1, 2022, Ultima Services Corporation (“Ultima”) was a fully-

owned subsidiary of Lusa Associates, Inc. (“Lusa”). Deposition of Celeste Bennett (“Bennett

Dep.”) 71:6-8; 75:11-12 (cited excerpts attached to Defendants’ Motion for Summary Judgment

as Exhibit 2).

       2.        Lusa is 100% owned and operated by Celeste Bennett. Bennett Dep. 51:15-17;

52:8-21 (Exhibit 2).

       3.        As of January 1, 2022, Ms. Bennett restructured her businesses so that she now

owns and operates Ultima. Bennett Dep. 70:22-71:8; 75:11-12; 77:1-12 (Exhibit 2).

       4.        Ultima has earned over $37 million in revenue from USDA contracts since 2015.

Declaration of Sheryl Welch (“Welch Decl.”) ¶ 4 (attached to Defendants’ Motion for Summary

Judgment as Exhibit 6).

       5.        Ultima has not applied to participate in the 8(a) program. Bennett Dep. 249:17-19

(Exhibit 2).




  Case 2:20-cv-00041-DCLC-CRW              Document 63        Filed 06/21/22      Page 1 of 11
                                         PageID #: 1632
       6.      At the time it filed the Complaint, Ultima exceeded the size requirements to be

considered a small business under NAICS code 561110 ($8 million), which is the NAICS code

that applied to its IDIQs. Ultima SAM.gov Representations and Certifications, at 3 (attached to

Defendants’ Motion for Summary Judgment as Exhibit 9); Bennett dep. 139:18-20 (Exhibit 2).

       7.      In a Decision Memorandum approved on March 30, 2018, NRCS noted that two

of the four IDIQs that had been awarded to Ultima were nearing their maximum value of $10

million in approximately one year. Decision Memorandum, at US0050556 (attached to

Defendants’ Motion for Summary Judgment as Exhibit 4).

       8.      In the March 30, 2018 Decision Memorandum, NRCS determined that re-

soliciting the work awarded through the regional IDIQs on a state basis would “yield the lowest

overall cost,” “afford[] easier access to more localized small business vendors,” and “reduce the

workload of the . . . contracting services branch.” Decision Memorandum, at 1 (Exhibit 4).

       9.      In the March 30, 2018 Decision Memorandum, NRCS determined that the

regional IDIQ model “is the second highest cost option,” that “States may not get the services

they actually need as States’ needs differ across the region,” and “[i]t places an undue workload

burden on [contracting services branch],” among other things. Decision Memorandum, at 2

(Exhibit 4).

       10.     Since NRCS made the decision not to exercise additional options on the IDIQs,

Ultima has essentially stopped bidding on contracts while it awaits the results of this litigation.

Bennett dep. 105:11-106:8; 106:17-107:10 (Exhibit 2).

       11.     In 2019, Lusa was awarded NRCS contracts valued at over $10.4 million. Welch

Decl. ¶ 9 (Exhibit 6).




                                                  2


  Case 2:20-cv-00041-DCLC-CRW              Document 63          Filed 06/21/22      Page 2 of 11
                                         PageID #: 1633
       12.        In 2019, Lusa was awarded two sole-source NRCS contracts valued at over $3.8

million though the women-owned small business program. Welch Decl. ¶ 11 (Exhibit 6).

       13.        Since 2019, NRCS has awarded contracts valued at over $10.8 million for

administrative or technical support services through full and open competition or competition

among all small businesses, including through the GSA Federal Supply Schedule program.

Declaration of Amy Stonebraker (“Stonebraker Decl.”) ¶ 5 (attached to Defendants’ Motion for

Summary Judgment as Exhibit 7).

       14.        Ultima has not registered for the GSA’s Federal Supply Schedule Program. See

Plaintiff’s Response to Defendants’ Third Set of Requests for Admission, ¶ 8 (attached to

Defendants’ Motion for Summary Judgment as Exhibit 8).

       15.        On average, in all industries since 2015, the federal government has obligated 3.7

percent of all small business eligible dollars through the 8(a) program. Declaration of Samuel

Powers (“Powers Decl.”) ¶ 5 (attached to Defendants’ Motion for Summary Judgment as Exhibit

21).

       16.        Since 2015, the federal government has spent about $3.87 trillion. Powers Decl. ¶

6 (Exhibit 21).

       17.        Since 2015, the federal government has spent about $3.75 trillion outside of the

8(a) program. Powers Decl. ¶ 7 (Exhibit 21).

       18.        Since fiscal year (“FY”) 2010, the USDA has awarded 3.76 percent of all contract

actions through the 8(a) program. Total Funding Agency Dollars (attached to Defendants’

Motion for Summary Judgment as Exhibit 22).




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  Case 2:20-cv-00041-DCLC-CRW                Document 63        Filed 06/21/22      Page 3 of 11
                                           PageID #: 1634
       19.      Since FY2010, the contract actions USDA has awarded through the 8(a) program

have been worth five percent of obligated contract dollars. Total Funding Agency Dollars

(Exhibit 22).

       20.      In NAICS codes 561110 and 541611, USDA has awarded 11 percent of contract

actions through the 8(a) program since 2015. USDA NAICS Spending (attached to Defendants’

Motion for Summary Judgment as Exhibit 24).

       21.      In NAICS codes 561110 and 541611, the contract actions USDA has awarded

through the 8(a) program have been worth 10 percent of obligated contract dollars. USDA

NAICS Spending (Exhibit 24).

       22.      Congress’s stated purpose in enacting the 8(a) program was to provide contract,

financial, technical, and management assistance to small businesses owned and controlled by

socially and economically disadvantaged individuals. Pub. L. No. 95-507, § 201, 92 Stat. 1757,

1760 (1978).

       23.      When it enacted the 8(a) program, Congress found that “the opportunity for full

participation in our free enterprise system by socially and economically disadvantaged persons is

essential if we are to obtain social and economic equality for such persons and improve the

functioning of our national economy.” Pub. L. No. 95-507, § 201, 92 Stat. 1757, 1760 (1978).

       24.      When it enacted the 8(a) program, Congress found that “many [socially and

economically disadvantaged] persons are socially disadvantaged because of their identification

as members of certain groups that have suffered the effects of discriminatory practices or similar

invidious circumstances over which they have no control.” Pub. L. No. 95-507, § 201, 92 Stat.

1757, 1760 (1978).




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  Case 2:20-cv-00041-DCLC-CRW             Document 63         Filed 06/21/22     Page 4 of 11
                                        PageID #: 1635
       25.     When it enacted the 8(a) program, Congress found that “such groups include, but

are not limited to, Black Americans, Hispanic Americans, Native Americans, and other

minorities.” Pub. L. No. 95-507, § 201, 92 Stat. 1757, 1760 (1978).

       26.     Congress subsequently amended this list to include Asian Pacific Americans and

Native Hawaiian Organizations. 15 U.S.C. § 631(f)(1)(C).

       27.     In enacting the 8(a) program, Congress found that “it is in the national interest to

expeditiously ameliorate the conditions of socially and economically disadvantaged groups.”

Pub. L. No. 95-507, § 201, 92 Stat. 1757, 1760 (1978).

       28.     In enacting the 8(a) program, Congress found that “such development can be

materially advanced through the procurement by the United States of articles, equipment,

supplies, services, materials, and construction work from such concerns” and “that such

procurements also benefit the United States by encouraging the expansion of suppliers for such

procurements, thereby encouraging competition among such suppliers and promoting economy

in such procurements.” Pub. L. No. 95-507, § 201, 92 Stat. 1757, 1760 (1978).

       29.     Dr. Jon Wainwright conducted several analyses of disparity studies and other data

and concluded that “taken as a whole, they provide strong evidence of large, adverse, and

statistically significant disparities facing minority-owned business enterprises in the United

States” and that “these disparities cannot be adequately explained by differences between the

relevant populations in factors untainted by the effects of discrimination and are therefore

consistent with the presence of discrimination in the business market.” Report of Defendant’s

Expert Jon Wainwright (“Wainwright Report”), at 81 (attached to Defendants’ Motion for

Summary Judgment as Exhibit 11).




                                                 5


  Case 2:20-cv-00041-DCLC-CRW              Document 63         Filed 06/21/22      Page 5 of 11
                                         PageID #: 1636
       30.      Dr. Wainwright found that this was the case in each of the major markets for

government contracting and procurement, including in the industries Plaintiff identified as

relevant to this matter. Wainwright Report, at 29, 81 (Exhibit 11).

       31.      Dr. Wainwright also found that this was the case when the results were

disaggregated into race and ethnicity categories. Wainwright Report, at 30; see Table 2.2

(Exhibit 11).

       32.      Dr. Wainwright also found large, adverse disparities in the utilization of minority-

owned businesses even when his analysis was restricted to studies published since 2017.

Wainwright Report, at 30 (Table 2.6) (Exhibit 11).

       33.      Daniel Chow, an economist at the Department of Commerce, Minority Business

Development Agency, analyzed federal contracting data and determined that small

disadvantaged businesses and minority-owned businesses had statistically significant lower odds

of winning a prime contract with the federal government compared to firms not in those

categories. Expert Report of Daniel Chow (“Chow Report”) p. 1-2, 7 (attached to Defendants’

Motion for Summary Judgment as Exhibit 13).

       34.      Mr. Chow found that these disparities persisted even after controlling for factors

that might affect a firm’s odds for success, including firm size, firm age, and level of security

clearance. Chow Report, at 2-3 (Exhibit 13).

       35.      Mr. Chow concluded that the lower odds identified in his analysis are consistent

with the presence of discrimination. Deposition of Daniel Chow (“Chow dep.”) 110:21-112:2

(attached to Defendants Motion for Summary Judgment as Exhibit 15).

       36.      Mr. Chow also analyzed data in NAICS codes 541 and 561, and he also found

that both socially-disadvantaged businesses and minority-owned businesses had statistically

                                                 6


  Case 2:20-cv-00041-DCLC-CRW              Document 63         Filed 06/21/22      Page 6 of 11
                                         PageID #: 1637
significant lower odds of winning a federal prime contract in these industries than other small

firms, even after controlling for non-discriminatory factors. Chow Report, at 11-18 (Table 5)

(Exhibit 13).

       37.      In 2018, Congress heard testimony describing the explicit discrimination faced by

minority-owned businesses in contracting, including the lack of timely bid notification, higher

and double standards, and the refusal to use minorities except when they are required in a

contract.” Strengthening Access to Capital for Minority-Owned Small Businesses, Hearing

Before S. Comm. on Small Bus. and Entrepreneurship, 115th Cong. 42 (2018) (statement of

Kenneth E. Clark, Business Consultant, MBDA Business Center-Capital Region).

       38.      In a 2020 hearing, Congress examined the “historical and systemic challenges”

faced by minority-owned businesses, including “a lack of access to capital and systemic racism.”

Access Denied: Challenges for Women- and Minority-Owned Businesses Accessing Capital and

Financial Services, Hearing Before Subcomm. on Diversity and Inclusion of the H. Comm. on

Fin. Servs., 116th Cong. 2 (2020) (opening statement of Rep. Beatty).

       39.      Congress received testimony in 2021 that Black wealth accumulation has

undergone a sustained process of asset underdevelopment “via an array of American programs

and practices,” including:

               federally sanctioned redlining, which reduced the credit available for Black
                households, in turn limiting their ability to buy homes;

               discriminatory access to homeownership subsidies in the New Deal legislation;

               denial of the benefits of the G.I. Bill to Black veterans, while White households
                were able to rely on the G.I. Bill to build wealth;

               racial zoning practices and tax policies; and

               the long-term effects of Jim Crow era state tax policies.


                                                  7


  Case 2:20-cv-00041-DCLC-CRW              Document 63          Filed 06/21/22    Page 7 of 11
                                         PageID #: 1638
How Invidious Discrimination Works and Hurts: An Examination of Lending Discrimination and

Its Long-term Economic Impacts on Borrowers of Color, Hearing before Subcomm. on

Oversight and Investigations of the H. Comm. on Financial Services, 117th Cong. (2021)

(testimony of William Darity Jr., Samuel DuBois Cook Professor of Public Policy, Duke

University) (citations omitted).

       40.     Congress heard similar testimony in a February 2021 hearing that detailed the

discriminatory barriers facing minority business owners, including (1) overtly discriminatory

practices by lenders; (2) discrimination in capital markets; and (3) structural barriers built into

the Paycheck Protection Program, including its reliance on mainstream financial institutions that

have long excluded minority business owners. Supporting Small and Minority-Owned Businesses

Throughout the Pandemic, Virtual Hearing Before the Subcomm. on National Security, Int’l Dev.

and Monetary Policy, H. Comm. On Fin. Servs. 117th Cong. 70, 71, 78 (2021) (statement of

Center for Responsible Lending and testimony of Ashley C. Harrington, Federal Advocacy

Director and Senior Counsel, Center for Responsible Lending).

       41.     In June 2021, Congress received over 100 disparity studies published from 2015-

2021 as evidence in support of the reauthorization of the Department of Transportation’s

Disadvantaged Business Enterprise Program. 167 CONG. REC. H3505-07 (daily ed. June 30,

2021) (statement of Rep. DeFazio) (listing disparity studies); 167 CONG. REC. S5898-99 (daily

ed. August 5, 2021) (statement of Sen. Tom Carper) (same).

       42.     In June 2021, Congress made specific findings as to the value of such studies:

“[D]isparity studies contain myriad analyses aimed at answering the question: ‘Does business

discrimination based on race or gender continue to exist?’ Even a cursory review of the studies

reveals that the answer is resoundingly ‘yes.’” H.R. Rep. No. 117-70, at 392-95 (2021).

                                                  8


  Case 2:20-cv-00041-DCLC-CRW               Document 63         Filed 06/21/22      Page 8 of 11
                                          PageID #: 1639
       43.     In February 2022, congressional testimony described the disproportionate effects

of the COVID-19 pandemic on minority business owners, which were attributed to the

compounding effects of systemic racism and the racial wealth gap, leading to “weak

capitalization, limited banking relationships, and little to no cash reserves to cushion the impact

of the pandemic” that resulted in the closure of nearly half of Black-owned businesses between

February and April 2020, compared to just 17 percent of white-owned businesses. Small

Businesses, Big Impact: Ensuring Small and Minority-Owned Businesses Share in the Economic

Recovery, Virtual Hearing Before the Subcomm. on Consumer Prot. and Fin. Inst. of the H.

Comm. On Fin. Servs., 117th Cong. 7 (2022) (statement of Stephanie Devane, Vice President,

Entrepreneurship & Business Development, National Urban League).



Dated: June 21, 2022


                                                     Respectfully submitted,

                                                     KAREN D. WOODARD
                                                     Chief
                                                     Employment Litigation Section
                                                     Civil Rights Division
 OF COUNSEL:                                         United States Department of Justice

 Karen Hunter                                        ANDREW BRANIFF (IN Bar No. 23430-71))
 Senior Trial Attorney                               Deputy Chief

 David A. Fishman
 Assistant General Counsel for Litigation            By: /s/ Juliet E. Gray
                                                     Juliet E. Gray (D.C. Bar No. 985608)
 Eric S. Benderson                                   K’Shaani Smith (N.Y. Bar 5059217)
 Associate General Counsel for Litigation            Christine T. Dinan (D.C. Bar No. 979762)
 U.S. Small Business Administration                  Senior Trial Attorneys
                                                     Employment Litigation Section

                                                 9


  Case 2:20-cv-00041-DCLC-CRW              Document 63          Filed 06/21/22     Page 9 of 11
                                         PageID #: 1640
Amar Shakti Nair                        Civil Rights Division
Attorney Advisor                        United States Department of Justice
                                        150 M Street, N.E.
Ashley Craig                            Washington, D.C. 20002
Attorney Advisor                        (202) 598-1600
U.S. Department Of Agriculture          Juliet.Gray@usdoj.gov
                                        K’Shaani.Smith@usdoj.gov
                                        Christine.Dinan@usdoj.gov




                                      10


Case 2:20-cv-00041-DCLC-CRW       Document 63     Filed 06/21/22     Page 10 of 11
                                 PageID #: 1641
                               CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2022, I electronically filed the above document and with
the Clerk of the Court using the ECF System, which will send notification of such filing to all
counsel of record.


                                                    /s/ Juliet E. Gray___________
                                                     Juliet E. Gray
                                                     Senior Trial Attorney




                                               11


 Case 2:20-cv-00041-DCLC-CRW             Document 63        Filed 06/21/22      Page 11 of 11
                                        PageID #: 1642
